                  EXHIBIT L




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From:           Dan Haley
To:             "HILL, RAY A"
Cc:             Amy Milberger; Cameron Clark; Alan Fagergren
Subject:        RE: Cory Pein         - FL Brandon Bloomingdale -
Date:           Wednesday, September 18, 2019 5:50:17 PM
Attachments:    Stephen Defiore - Sim card case - FL Brandon Bloomingdale.pdf


Ray,
Attached is our case summary on Stephen Defiore. Thru video footage and account research, I found
that only Stephen Defiore was involved in unauthorized sim card changes. Defiore took full
responsibility for all sim card changes that we were made aware of by At&t. When I spoke with
Defiore during the investigation, he did state there may have been instances where another
employee was logged into Opus while he was making unauthorized sim card changes. He also stated
that no other employees were aware of his actions.
It was communicated to us that sales associate Cory Pein and Victoria Maher were named in this
investigation by At&t. Pein and Maher were not found to be involved with any unauthorized sim card
changes during the investigation. Pein also remained employed during and after this investigation
with no periods of a leave of absence or resignation.
For this reason, Pein’s AttUID -        , should remain active.
DAN HALEY
Senior Loss Prevention Manager | Prime Communications
Phone: (970) 376-7336 | dhaley@primecomms.com




From: Dan Haley
Sent: Friday, August 30, 2019 4:20 PM
To: 'HILL, RAY A' <rh7889@att.com>
Cc: Amy Milberger <amilberger@primecomms.com>; Cameron Clark <cclark@primecomms.com>;
Alan Fagergren <afagergren@primecomms.com>
Subject: RE: Cory Pein         - FL Brandon Bloomingdale -
Ray,
From Wednesday’s conversation, Cory Pein did not leave the company at any point since his hire
date of 10/2017.
You had mentioned this was related to the sim swap case with Stephen Defiore. The only AttUID that
I recall being named during the investigation was Victoria Maher      .
DAN HALEY
Senior Loss Prevention Manager | Prime Communications
Phone: (970) 376-7336 | dhaley@primecomms.com




From: Dan Haley
Sent: Friday, August 23, 2019 10:42 AM


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